     Case: 1:19-cv-02640 Document #: 57 Filed: 08/16/19 Page 1 of 2 PageID #:4428




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA,
CARTIER INTERNATIONAL A.G.,                       Case No. 19-cv-02640
MONTBLANC-SIMPLO GMBH, CHLOE
                                                  Judge John Z. Lee
S.A.S., VAN CLEEF & ARPELS SA, and
OFFICINE PANERAI A.G.,                            Magistrate Judge Jeffrey Cole

               Plaintiffs,
v.

XIONGAI LONG, et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Richemont

International SA, Cartier International A.G., Montblanc-Simplo GmbH, Chloe S.A.S., Van Cleef

& Arpels SA, and Officine Panerai A.G. (collectively, “Plaintiffs”) hereby dismiss this action

with prejudice as to the following Defendant:

               Defendant Name                                     Line No.
                 fzeroinestore                                       45
   Case: 1:19-cv-02640 Document #: 57 Filed: 08/16/19 Page 2 of 2 PageID #:4428




Dated this 16th day of August 2019.   Respectfully submitted,

                                      /s/ Allyson M. Martin
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      Allyson M. Martin
                                      Greer, Burns & Crain, Ltd.
                                      300 South Wacker Drive, Suite 2500
                                      Chicago, Illinois 60606
                                      312.360.0080 / 312.360.9315 (facsimile)
                                      aziegler@gbc.law
                                      jgaudio@gbc.law
                                      amartin@gbc.law

                                      Counsel for Plaintiffs Richemont International SA,
                                      Cartier International A.G., Montblanc-Simplo
                                      GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and
                                      Officine Panerai A.G.




                                         2
